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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8    UNITED STATES OF AMERICA,
 9                                                        CASE NO.CR05-215P

10                                                        PROPOSED FINDINGS OF
              Plaintiff,                                  FACT AND DETERMINATION
11                                                        AS TO ALLEGED VIOLATIONS
             v.                                           OF SUPERVISED RELEASE
12    PATRICK SCOTT BRACKETT,

13              Defendant.

14
                                            INTRODUCTION
15
          I conducted a hearing on alleged violations of pre-trial release in this case on September 26,
16
     2005. The United States was represented by Janet Freeman, the defendant was represented by
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     Stewart Riley, Lonnie Kaman was present from U.S. Pre-trial Services. The proceedings were
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     recorded on disk.
19
                                             BACKGROUND
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          Defendant had been placed on pre-trial supervision on May 19, 2005. His trial was assigned
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     to the Hon. Marsha J. Pechman, of this court with trial set for October 31, 2005. . In open court
22
     he was advised of the conditions of pre-trial release and, germane here, after one termination, he
23
     was readmitted and finally successfully completed treatment at Pioneer center North.
24
          The conditions of supervised release included requirements that the defendant comply with
25
     the standard 13 conditions.
26
                  ALLEGED VIOLATIONS AND THE DEFENDANT'S ADMISSION
27
          USPTSO Brenda Amundson alleged that the defendant violated the conditions of pre-trial
28
     PROPOSED FINDINGS
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 1   supervision in two respects:
 2           (1)     By using and consuming cocaine on or about September 15, 2005 in violation of the
 3                   conditions set forth in the appearance bond;
 4           (2)     By being terminated from the half-way house on or about September 23, 2005 in
 5                   violation of the conditions set forth in the appearance bond.
 6
 7           At an initial hearing, I advised the defendant of these charges and of his constitutional rights.
 8   At today’s hearing the defendant admitted the violations one and two, waived any hearing as to
 9   whether it occurred, and consented to having the matter set for a disposition hearing before the
10   Hon. Pechman.
11
12                          RECOMMENDED FINDINGS AND CONCLUSIONS
13           Based upon the foregoing, I recommend the court find that defendant has violated the
14   conditions of his supervised release as alleged; and set the matter for a disposition hearing.
15           Defendant has been detained pending a final determination by the court.
16           DATED this 28th day of September, 2005.


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                                                             MONICA J. BENTON
20
                                                             United States Magistrate Judge
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23   cc:     Sentencing Judge                                :        Hon. Marsha J. Pechman
24           Assistant U.S. Attorney                         :        Janet Freeman
25           Defense Attorney                                :        Stewart Riley
26           U. S. Pre-Trial Services Officer                :        Brenda Amundson
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28
     PROPOSED FINDINGS
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